                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

WILLIAM FEEHAN,

                           Plaintiff,                        CASE NO. 2:20-cv-1771
               v.

WISCONSIN ELECTIONS COMMISSION,
  and its members ANN S. JACOBS, MARK
  L. THOMSEN, MARGE BOSTELMAN,
  JULIE M. GLANCEY, DEAN KNUDSON,
  ROBERT F. SPINDELL, JR., in their official
  capacities, GOVERNOR TONY EVERS, in
  his official capacity,

                      Defendants.
______________________________________________________________________________

                        PLAINTIFF’S NOTICE OF APPEAL
______________________________________________________________________________

   Notice is hereby given that William Feehan, Plaintiff in the above named case, hereby appeals

to the United States Court of Appeals for the Seventh Circuit from the District Court’s Order dated

December 9, 2020, ECF Dkt. No.83, dismissing his Amended Complaint for Declaratory,

Emergency, and Permanent Injunctive Relief, Dkt. No. 9, and denying as moot his Corrected

Motion for Declaratory, Emergency, and Permanent Injunctive Relief, Dkt. No. 6, and Amended

Motion for Temporary Restraining Order and Preliminary Injunction to be Considered in an

Expedited Manner, Dkt. No. 10.




          Case 2:20-cv-01771-PP Filed 12/10/20 Page 1 of 2 Document 84
Dated December 10, 2020.

                               ATTORNEYS FOR PLAINTIFF

                               /s Sidney Powell
                               Texas Bar No. 16209700
                               Sidney Powell PC
                               2911 Turtle Creek Blvd.
                               Suite 300
                               Dallas, Texas 75219
                               (517) 763-7499
                               sidney@federalappeals.com

                               Howard Kleinhendler
                               New York Bar No. 2657120
                               Howard Kleinhendler, Esquire
                               369 Lexington Avenue, 12th Floor
                               New York, New York 10017
                               (917) 793-1188
                               howard@kleinhendler.com


                               Local Counsel for Plaintiffs
                               Michael D. Dean
                               Wis. Bar No.01019171
                               P.O. Box 2545
                               Brookfield, WI 53008
                               (262) 798-8044
                               miked@michaelddeanllc.com

                               Daniel J. Eastman
                               Wis. Bar No.1011433
                               P.O. Box 158
                               Mequon, Wisconsin 53092
                               (414) 881-9383
                               daneastman@me.com




    Case 2:20-cv-01771-PP Filed 12/10/20 Page 2 of 2 Document 84
